                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

    In re:
                                                                 Chapter 11
    BUFFETS, LLC, et al.,
                                                                 Case No. 16-50557-rbk
                                        Debtors.1                (Jointly Administered)

    Buffets Unsecured Creditors’ Trust,
                                               Plaintiff,
    vs.
                                                                 Adv. No. 18-05118-rbk
    Ricoh USA, Inc.; and General Electric Company
    dba GE Capital,
                                        Defendant.

                           STIPULATION EXTENDING TIME FOR
                       DEFENDANT TO RESPOND TO THE COMPLAINT

             Buffets Unsecured Creditors’ Trust, (the “Plaintiff”) and Ricoh USA, Inc. (the

“Defendant” together with Plaintiff, the “Parties”), through their respective counsel, enter into

this Stipulation Extending Time for Defendant to Respond to the Complaint (the “Stipulation”)

and hereby stipulate and agree as follows:

             1.    The Parties agree and stipulate that the time within which Defendant may answer,

move, or otherwise plead to the Complaint [D.I. 1] is hereby further extended to and including

May 4, 2018.




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   The Debtors in n these cases, along with the last four digits of each Debtor’s federal tax identification number,
are: Buffets, LLC (2294); Hometown Buffet, Inc. (3002); OCB Restaurant Company, LLC (7607); OCB Purchasing,
Co. (7610); Ryan’s Restaurant Group, LLC (7895); Fire Mountain Restaurants, LLC (8003); and Tahoe Joe’s, Inc.
(7129).




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Dated: March 27, 2018

ASK LLP


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